
Per Curiam.
Michael Padgett (the former husband) appeals the trial court's denial of his petition to modify his alimony obligation to Retha Padgett (the former wife), arguing that the evidence does not support the trial court's finding that he was capable of earning additional income. We cannot determine whether the trial court's finding was supported by the evidence due to the lack of transcript in the record on appeal, and must affirm. See Applegate v. Barnett Bank of Tallahassee , 377 So.2d 1150, 1152 (Fla. 1979) ("Without a record of the trial proceedings, the appellate court can not properly resolve the underlying factual issues so as to conclude that the trial court's judgment is not supported by the evidence or by an alternative theory.").
AFFIRMED .
B.L. Thomas, C.J., and Kelsey and Winokur, JJ., concur.
